                                    Case 19-21257-jra               Doc 1       Filed 05/07/19            Page 1 of 22


Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Calumet Abrasives Co., Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3039 169th Place
                                  Hammond, IN 46323
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  3023 & 3039 169th Place Hammond, IN 46323
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://calumetabrasives.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-21257-jra               Doc 1         Filed 05/07/19              Page 2 of 22
Debtor    Calumet Abrasives Co., Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case 19-21257-jra                Doc 1        Filed 05/07/19             Page 3 of 22
Debtor   Calumet Abrasives Co., Inc.                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Calumet Abrasives Co., Inc.                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 7, 2019
                                                  MM / DD / YYYY


                             X   /s/ Robert M. Shindorf                                                   Robert M. Shindorf
                                 Signature of authorized representative of debtor                         Printed name

                                         President, Treasurer, Secretary and sole
                                 Title   Director




18. Signature of attorney    X   /s/ Daniel L. Freeland                                                    Date May 7, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Daniel L. Freeland
                                 Printed name

                                 Daniel L. Freeland & Associates, P.C.
                                 Firm name

                                 9105 Indianapolis Boulevard
                                 Highland, IN 46322
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     219.922.0800                  Email address      Dlf9601@aol.com

                                 6979-45 IN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Calumet Abrasives Co., Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 7, 2019                             X /s/ Robert M. Shindorf
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert M. Shindorf
                                                                       Printed name

                                                                       President, Treasurer, Secretary and sole Director
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Calumet Abrasives Co., Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Accucraft Imaging,                                              Trade Debt                                                                                                 $9,615.11
 Inc.
 5920 Hohman
 Avenue
 Hammond, IN 46320
 Air Comfort                                                     Trade Debt                                                                                               $10,052.08
 2550 Braga Drive
 Broadview, IL 60155
 Beverly Snow & Ice                                              Snow and Ice                                                                                             $10,348.00
 16504 S. Dixie Hwy                                              Removal
 Markham, IL 60428
 Ceva Freight, LLC                                               Trade Debt                                                                                                 $8,680.00
 Dept 2309
 Carol Stream, IL
 60132
 Grainger                                                        Trade Debt                                                                                                 $9,469.49
 Dept 801849506
 Palatine, IL 60038
 HINSHAW &                                                       Attorney Fees                                                                                              $6,235.36
 CULBERSON LLP
 8142 Solutions
 Center Drive
 Chicago, IL
 60677-8001
 Industrial Polymers                                             Trade Debt                                                                                             $227,996.32
 and Chemicals, Inc.
 508 Boston
 Turnpike
 Shrewsbury, MA
 01545
 Keller -Heart Oil                                               Trade Debt                                                                                                 $4,181.10
 4411 S. Tripp
 Avenue
 Chicago, IL 60632
 Levin Ginsburg                                                  Attorney fees                                                                                              $7,031.66
 180 North LaSalle
 Street
 Chicago, IL 60601

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Calumet Abrasives Co., Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Maternini                                                       Trade Debt                                                                                               $25,126.89
 Via Agostino
 Novella, Zona
 Industrial
 21046 Malnate
 (VA)Italia
 Nexus Employment                                                Trade Debt                                                                                               $24,243.80
 P.O. Box 1053
 Bedford Park, IL
 60499
 Prairie State Group                                             Trade Debt                                                                                               $22,790.43
 11100 Addison
 Avenue
 Franklin Park, IL
 60131
 Quincy Compressor                                               Trade Debt                                                                                                 $6,031.87
 Department 3427
 Dallas, TX 75312
 Standard Cartage                                                Trade Debt                                                                                                 $3,572.00
 Comp.
 2400 South 27th
 Avenue
 Broadview, IL 60155
 Star Tool & Die                                                 Trade Debt                                                                                               $31,329.85
 Works, Inc.
 640 East 217th
 Street
 Chicago Heights, IL
 60411
 Swartz, Retson &                                                Compliance fees                                                                                          $12,730.00
 Co., P.C.
 235 E 86th Avenue
 Merrillville, IN 46410
 Tim O'Connell                                                   Professional fees                                                                                        $14,850.00
 1003 E. 31st Street
 La Grange Park, IL
 60526
 Trinity Logistics,                                              Trade Debt                                                                                                 $7,078.60
 Inc.
 P.O. Box 62702
 Baltimore, MD 21264
 Wertheimer                                                      Trade Debt                                                                                               $14,622.04
 7950 W. Joliet Road,
 Suite 100
 La Grange, IL 60525
 YRC Freight                                                     Trade Debt                                                                                                 $7,517.29
 P.O. Box 93151
 Chicago, IL 60673




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Indiana
 In re       Calumet Abrasives Co., Inc.                                                                      Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 21,805.00
             Prior to the filing of this statement I have received                                        $                 21,805.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 The professional services the Daniel L. Freeland & Associates, P.C. is to render are:
                 (a) to give debtor legal advice with respect to its powers and duties as debtor-in-possession in the continued
                 operation of its businesses and management of its property; (b) to defend various complaints and motions for
                 relief of stay filed by creditors of the debtor; (c) to protect the debtor's interest in any executory contracts;
                 (d) to prepare on behalf of your applicant, as debtor-in-possession, necessary applications, answers, orders,
                 reports, and other legal papers; (e) to perform all other legal services for debtor as debtor-in-possession which
                 may be necessary herein; and (f) to prepare and file Plans, Disclosures and other papers related thereto.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 7, 2019                                                                 /s/ Daniel L. Freeland
     Date                                                                        Daniel L. Freeland
                                                                                 Signature of Attorney
                                                                                 Daniel L. Freeland & Associates, P.C.
                                                                                 9105 Indianapolis Boulevard
                                                                                 Highland, IN 46322
                                                                                 219.922.0800 Fax: 219.922.1261
                                                                                 Dlf9601@aol.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Indiana
 In re      Calumet Abrasives Co., Inc.                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 John Anderson                                                       Shareholder      5                                          Shares
 1305 Tamarack Drive
 Munster, IN 46321

 Robert M Shindorf                                                   Shareholder      5                                          Shares
 C/o Stone Fox Ventures, LLC
 3890 Buchanan Avenue SW
 Grand Rapids, MI 49548


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President, Treasurer, Secretary and sole Director of the corporation named as the debtor in this case, declare
under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the
best of my information and belief.



 Date May 7, 2019                                                            Signature /s/ Robert M. Shindorf
                                                                                            Robert M. Shindorf

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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(6/2010)
                                                               United States Bankruptcy Court
                                                                     Northern District of Indiana
 In re      Calumet Abrasives Co., Inc.                                                                   Case No.
                                                                                  Debtor(s)               Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX

     The above-named debtor(s) verifies under penalty of perjury that the attached list of creditors is true and correct to the best of
his/her knowledge.




 Date:       May 7, 2019                                               /s/ Robert M. Shindorf
                                                                       Robert M. Shindorf/President, Treasurer, Secretary and sole
                                                                       Director
                                                                       Signer/Title




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t
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             3M COTTAGE GROVE
             2807 PAYSPHERE CIRCLE
             CHICAGO, IL 60674


             ACCUCRAFT IMAGING, INC.
             5920 HOHMAN AVENUE
             HAMMOND, IN 46320


             ACCUWARE
             799 ROOSEVELT ROAD, SUITE 3-218
             GLEN ELLYN, IL 60137


             AIR COMFORT
             2550 BRAGA DRIVE
             BROADVIEW, IL 60155


             AMERIGAS
             P.O. BOX 371473
             PITTSBURGH, PA 15250


             APEX TOTAL PROPERTY MAINTENANCE, INC.
             2743 HIGHWAY AVENUE
             HIGHLAND, IN 46322


             AT&T FIBER BROADBAND
             P.O. BOX 5019
             CAROL STREAM, IL 60197


             AT&T MOBILITY
             P.O. BOX 6463
             CAROL STREAM, IL 60197


             AUSTGEN ELECTRIC
             801 EAST MAIN STREET
             GRIFFITH, IN 46319
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         BEVERLY SNOW & ICE
         16504 S. DIXIE HWY
         MARKHAM, IL 60428


         BRIAN HITTINGER
         KRIEG DEVAULT
         8001 BROADWAY SUITE 400
         MERRILLVILLE, IN 46410


         BURGETT CCM
         P.O. BOX 10517
         MERRILLVILLE, IN 46410


         CALUMET LUMBER
         402 E. CHICAGO AVENUE
         EAST CHICAGO, IN 46312


         CEVA FREIGHT, LLC
         DEPT 2309
         CAROL STREAM, IL 60132


         CINTAS-MEDICAL
         P.O. BOX 631025
         CINCINNATI, OH 45263


         CINTAS-UNIFORMS
         P.O. BOX 88005
         CHICAGO, IL 60680


         CL VENDING
         P.O. BOX 339
         CEDAR LAKE, IN 46303-0339


         COMPREHENSIVE CARE
         7501 WEST 15TH AVENUE
         GARY, IN 46406
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         COTG
         P.O. BOX 5940
         LOCK BOX #20-OE-001
         CAROL STREAM, IL 60197


         DHL EXPRESS
         16592 COLLECTION CENTER DRIVE
         CHICAGO, IL 60693


         ENGLEWOOD ELECTRICAL SUPPLY
         P.O. BOX 802578
         CHICAGO, IL 60680


         FIRST MIDWEST BANK
         P.O. BOX 125
         BEDFORD PARK, IL 60499


         FIRST MIDWEST BANK LOC
         P.O. BOX 125
         BEDFORD PARK, IL 60499


         FISHER CONTAINER CORP.
         1111 BUSCH PKWY
         BUFFALO GROVE, IL 60089


         GRAINGER
         DEPT 801849506
         PALATINE, IL 60038


         HAMMOND POLICE ALARM ADMINISTRATOR
         CITY OF HAMMOND
         509 DOUGLAS STREET
         HAMMOND, IN 46320


         HAMMOND WATER WORKS DEPT.
         6505 COLUMBIA AVE
         HAMMOND, IN 46320
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         HERITAGE-CRYSTAL CLEAN
         13621 COLLECTIONS CENTER DRIVE
         CHICAGO, IL 60693


         HEUCOTECH LTD.
         P.O. BOX 416247
         BOSTON, MA 02241


         HINSHAW & CULBERSON LLP
         8142 SOLUTIONS CENTER DRIVE
         CHICAGO, IL 60677-8001


         HYDRAMET AMERICAN, INC.
         P.O. BOX 40
         ROYAL OAK, MI 48068


         INDIANA DEPT. OF ENVIRONMENTAL MANAGEMEN
         INDIANA GOV. CENTER NORTH
         100 NORTH SENATE AVENUE
         INDIANAPOLIS, IN 46204


         INDUSTRIAL POLYMERS AND CHEMICALS, INC.
         508 BOSTON TURNPIKE
         SHREWSBURY, MA 01545


         J&L FASTENERS
         P.O. BOX 2248
         HAMMOND, IN 46323


         J.W. DONCHIN CO.
         4841 W. CHICAGO AVENUE
         CHICAGO, IL 60651


         JESENEK
         KOCBEKOVA C.24
         3202 LJUBECNA 3202
         SLOVENIA
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         JOHN ANDERSON
         1305 TAMARACK DRIVE
         MUNSTER, IN 46321


         KELLER -HEART OIL
         4411 S. TRIPP AVENUE
         CHICAGO, IL 60632


         KEVIN STEELE
         156 WASHINGTON STREET
         VALPARAISO, IN 46383


         KEVIN STEELE
         156 WASHINGTON
         VALPARAISO, IN 46383


         KONRADY PLASTICS, INC.
         1780 COPPES COURT
         PORTAGE, IN 46368


         KRONOS
         P.O. BOX 743208
         ATLANTA, GA 30374


         LABOR OUT
         RICK SPARKS
         P.O. BOX 605
         SCHERERVILLE, IN 46375


         LANDSBERG
         25794 NETWORK PLACE
         CHICAGO, IL 60673


         LEVIN GINSBURG
         180 NORTH LASALLE STREET
         CHICAGO, IL 60601
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         LINDY'S ACE HARDWARE
         6220 KENNEDY AVENUE
         HAMMOND, IN 46323


         MATERNINI
         VIA AGOSTINO NOVELLA, ZONA INDUSTRIAL
         21046 MALNATE (VA)ITALIA


         MCMASTER CARR SUPPLY
         P.O. BOX 7690
         CHICAGO, IL 60680


         MIAMI VALLEY WORLDWIDE, INC.
         1300 E THIRD STREET
         DAYTON, OH 45403


         NEW YORK STATE INSURANCE
         1 WATERVLIET AVENUE
         ALBANY, NY 12206


         NEXUS EMPLOYMENT
         P.O. BOX 1053
         BEDFORD PARK, IL 60499


         PRAIRIE STATE GROUP
         11100 ADDISON AVENUE
         FRANKLIN PARK, IL 60131


         QUINCY COMPRESSOR
         DEPARTMENT 3427
         DALLAS, TX 75312


         REICHELT PLUMBING
         P.O. BOX 177
         SCHERERVILLE, IN 46375
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         RICOH/WELLS FARGO
         P.O. BOX 740541
         ATLANTA, GA 30374


         ROBERT M SHINDORF
         C/O STONE FOX VENTURES, LLC
         3890 BUCHANAN AVENUE SW
         GRAND RAPIDS, MI 49548


         SALYER PLUMBING, INC.
         2209 EAST 165TH STREET
         HAMMOND, IN 46320


         SHAKESPEARE MACHINE
         2801 S. MERMORIAL DRIVE
         RACINE, WI 53403


         SHAWN COX
         HODGES & DAVIS PC
         8700 BROADWAY
         MERRILLVILLE, IN 46410


         SHEET METAL SERVICES
         9944 EXPRESS DRIVE
         HIGHLAND, IN 46322


         STAGG/DIVAL SAFETY
         163 S. THIRD AVENUE
         EVANSVILLE, IN 47708


         STANDARD CARTAGE COMP.
         2400 SOUTH 27TH AVENUE
         BROADVIEW, IL 60155


         STAPLES
         P.O. BOX 183174
         COLUMBUS, OH 43218
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         STAR TOOL & DIE WORKS, INC.
         640 EAST 217TH STREET
         CHICAGO HEIGHTS, IL 60411


         SWARTZ, RETSON & CO., P.C.
         235 E 86TH AVENUE
         MERRILLVILLE, IN 46410


         TECH WEIGH
         1004 REDER ROAD
         GRIFFITH, IN 46319


         TIM O'CONNELL
         1003 E. 31ST STREET
         LA GRANGE PARK, IL 60526


         TRINITY LOGISTICS, INC.
         P.O. BOX 62702
         BALTIMORE, MD 21264


         ULINE
         P.O. BOX 88741
         CHICAGO, IL 60680


         UNIFIRST CORPORATION
         4545 CALUMENT AVENUE
         HAMMOND, IN 46327


         UPS
         LOCKBOX 577
         CAROL STREAM, IL 60132


         WELCH PACKAGING
         24775 NETWORK PLACE
         CHICAGO, IL 60673
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         WELLS FARGO BANK N.A.
         300 TRI-STATE INTERNATIONAL
         LINCOLNSHIRE, IL 60069


         WERTHEIMER
         7950 W. JOLIET ROAD, SUITE 100
         LA GRANGE, IL 60525


         WINTRUST CAPITAL
         9700 WEST HIGGINS ROAD, SUITE 1015
         DES PLAINES, IL 60018


         YRC FREIGHT
         P.O. BOX 93151
         CHICAGO, IL 60673
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                                                               United States Bankruptcy Court
                                                                     Northern District of Indiana
 In re      Calumet Abrasives Co., Inc.                                                                      Case No.
                                                                                  Debtor(s)                  Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Calumet Abrasives Co., Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 7, 2019                                                         /s/ Daniel L. Freeland
 Date                                                                Daniel L. Freeland
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Calumet Abrasives Co., Inc.
                                                                     Daniel L. Freeland & Associates, P.C.
                                                                     9105 Indianapolis Boulevard
                                                                     Highland, IN 46322
                                                                     219.922.0800 Fax:219.922.1261
                                                                     Dlf9601@aol.com




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                                                               United States Bankruptcy Court
                                                                     Northern District of Indiana
 In re      Calumet Abrasives Co., Inc.                                                                   Case No.
                                                                                 Debtor(s)                Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Robert M. Shindorf, declare under penalty of perjury that I am the President, Treasurer, Secretary
and sole Director of Calumet Abrasives Co., Inc., and that the following is a true and correct copy of the
resolutions adopted by the Board of Directors of said corporation at a special meeting duly called and held on
the 6th day of May, 2019.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Robert M. Shindorf, President, Treasurer, Secretary and sole
Director of this Corporation, is authorized and directed to execute and deliver all documents necessary to
perfect the filing of a chapter 11 voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Robert M. Shindorf, President, Treasurer, Secretary and sole Director
of this Corporation is authorized and directed to appear in all bankruptcy proceedings on behalf of the
corporation, and to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case, and

        Be It Further Resolved, that Robert M. Shindorf, President, Treasurer, Secretary and sole Director
of this Corporation is authorized and directed to employ Frederick L. Carpenter, attorney and the law firm of
Daniel L. Freeland & Associates, P.C. to represent the corporation in such bankruptcy case."

 Date      May 6, 2019                                                          Signed
                                                                                         Robert M. Shindorf




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                                                                     Resolution of Board of Directors
                                                                                    of
                                                                      Calumet Abrasives Co., Inc.



      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Robert M. Shindorf, President, Treasurer, Secretary and sole
Director of this Corporation, is authorized and directed to execute and deliver all documents necessary to
perfect the filing of a chapter 11 voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Robert M. Shindorf, President, Treasurer, Secretary and sole Director
of this Corporation is authorized and directed to appear in all bankruptcy proceedings on behalf of the
corporation, and to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case, and

        Be It Further Resolved, that Robert M. Shindorf, President, Treasurer, Secretary and sole Director
of this Corporation is authorized and directed to employ Frederick L. Carpenter, attorney and the law firm of
Daniel L. Freeland & Associates, P.C. to represent the corporation in such bankruptcy case.



 Date      May 6, 2019                                                             Signed




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